     Case2:18-cv-02188-JAD-GWF
     Case 2:18-cv-02188-JAD-EJY Document
                                Document16
                                         15 Filed
                                            Filed04/30/19
                                                  04/29/19 Page
                                                           Page11of
                                                                 of23



 1   NICHOLAS A. TRUTANICH
     United States Attorney
 2   DEBORAH LEE STACHEL
     Regional Chief Counsel, Region IX
 3   Social Security Administration
     MICHAEL K. MARRIOTT, CSBN 280890
 4   Special Assistant United States Attorney
            160 Spear Street, Suite 800
 5
            San Francisco, California 94105
            Telephone: (415) 977-8985
 6
            Facsimile: (415) 744-0134
 7          E-Mail: Michael.Marriott@ssa.gov

 8   Attorneys for Defendant

 9

10                               UNITED STATES DISTRICT COURT

11                                       DISTRICT OF NEVADA
                                         LAS VEGAS DIVISION
12

13
     TALITHA BROUGHTON,                              )   Case No: 2:18-cv-02188-JAD-GWF
14                                                   )
                    Plaintiff                        )
15                                                   )   STIPULATION FOR EXTENSION OF
            v.                                       )   TIME TO FILE DEFENDANT’S CROSS
16                                                   )   MOTION TO AFFIRM
     NANCY A. BERRYHILL, Acting                      )
17   Commissioner of Social Security,                )   (First Request)
                                                     )
18                  Defendant.                       )
                                                     )
19

20          Defendant Nancy A. Berryhill, Acting Commissioner of Social Security, hereby requests

21   an extension of time of thirty days to Wednesday, May 29, 2019, to prepare and file her cross

22   motion to affirm. This is the Commissioner’s first request for an extension.

23          Defendant respectfully requests this extension of time because of a very heavy workload,

24   including ten district court merits briefs due in the next four weeks, as well as two Ninth Circuit

25   responsive briefs to complete.

26
                                                     -1-
     Case2:18-cv-02188-JAD-GWF
     Case 2:18-cv-02188-JAD-EJY Document
                                Document16
                                         15 Filed
                                            Filed04/30/19
                                                  04/29/19 Page
                                                           Page22of
                                                                 of23



 1           On April 29, 2019, Plaintiff’s counsel informed Defendant by email that he had no

 2   objection to this extension.

 3

 4                                               Respectfully submitted,

 5
     Date: April 29, 2019                        LAW OFFICES OF LAWRENCE D. ROHLFING
 6
                                          By:    /s/*Cyrus Safa
 7                                               CYRUS SAFA
                                                 *authorized by email April 29, 2019
 8
                                                 Attorney for Plaintiff
 9

10
     Date: April 29, 2019                        NICHOLAS A. TRUTANICH
11                                               United States Attorney

12                                        By:    /s/ Michael K. Marriott
                                                 MICHAEL K. MARRIOTT
13                                               Assistant Regional Counsel

14                                               Attorneys for Defendant

15
     Of Counsel
16   Jeffrey Chen
     Assistant Regional Counsel
17   Social Security Administration
18

19

20                                               IT IS SO ORDERED.
21

22
     DATE:      4/30/2019
23                                               HONORABLE GEORGE FOLEY, JR.
                                                 United States Magistrate Judge
24

25

26
                                                   -2-
